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10
                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                             SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                       )   Case No. CR-15-00226-BLF
                                                     )
15           Plaintiff,                              )   UNITED STATES’ TRIAL MEMORANDUM
                                                     )
16      v.                                           )
                                                     )   Trial Date:   July 20, 2015
17   DOUGLAS STORMS YORK,                            )   Time:         9:00 a.m.
                                                     )   Courtroom:    Hon. Beth Labson Freeman
18           Defendant.                              )
                                                     )
19

20       Pursuant to the Court’s standing order Re Pretrial Conference- Criminal Trial, The United States
21 hereby respectfully submits the following trial memorandum:

22     I.    Legal Bases for the Charges

23               A. Count 1: 18 U.S.C. § 912
24           The government charges the defendant with one count of 18 U.S.C. § 912. 18 U.S.C. § 912-
25 False Impersonation of an Employee of the United States. The defendant falsely pretended to be a

26 federal officer or employee acting under the seal of the United States, and the defendant acted as such
27           .
28

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 1              B. Count 2: 47 U.S.C. § 223(a)(1)(C).

 2          The government superseded the indictment on July 9, 2015, to include one count of 47 U.S.C. §

 3 223(a)(1)(C). The parties’ jointly prepared pretrial filings do not reflect the superseded charge, and will

 4 be amended if necessary.

 5          Certain forms of harassment may be prosecuted under 47 U.S.C. 223. This provision of this

 6 statute makes it a federal crime to use a telephone or telecommunications device to abuse, harass, or

 7 threaten any person. The statute also requires that the perpetrator not reveal his or her identity. See 47

 8 U.S.C. § 223(a)(1)(C). An individual is in violation of § 223(a)(1)(C) when in interstate or foreign

 9 communications, he makes a telephone call or utilizes a telecommunications device, whether or not
10 communication ensues, without disclosing his identity and with intent to abuse, threaten, or harass any

11 specific person.

12    II.   ANTICIPATED EVIDENCE

13          As reflected in the government’s Witness and Exhibit lists, the government intends to introduce

14 evidence and testimony to establish that the defendant made a phone call to Allan Hessenflow falsely

15 impersonating an employee of the Internal Revenue Service (“IRS”) and acting as such. The

16 government intends to call one or more victims in the case to testify to the voice mail and his identity or

17 motive for making the call. Further, the government will introduce records and documents supporting

18 the count.

19          The government intends to introduce through testimony and exhibits, that defendant made a

20 phone call or interstate communication by making a call originating in California, by utilizing

21 “Spoofcard,” whose servers are located in New Jersey. The defendant failed to identify himself as Doug

22 York, and attempted to conceal his identity by using a voice alteration feature. The government will

23 show that it was defendant’s purpose to annoy or harass the victim and this will be shown through the

24 content of the voice mail and in conjunction with continued instances of harassment of the victims. The

25 government will show that over the course of several months, the defendant incessantly called both

26 Andrea York and Mr. Hessenflow. Phone records corroborate these incessant phone calls. A man
27 thought to be defendant was caught prowling around Hessenflow’s property (this was caught on a home-

28 security camera video), and on other occasions defendant was caught pounding on doors and windows.

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 1 On one instance, the defendant placed a phony advertisement on Craigslist for Mr. Hessenflow’s

 2 Porsche, listing Mr. Hessenflow’s address and subjecting him to drive-by visits from prospective buyers.

 3 The defendant numerously accused Mr. Hessenflow of being a child predator, including making these

 4 allegations to a Family Court Judge and other people known to Mr. Hessenflow. A sign listing Mr.

 5 Hessenflow’s address and claiming he was a child predator was posted on Mr. Hessenflow’s street. This

 6 incessant pattern of harassment, which included physical violence against Andrea York, took place over

 7 the course of several months. Mr. Hessenflow, in turn, maintained a detailed log of each incident of

 8 harassment.

 9   III.   EVIDENTIARY, PROCEDURAL OR OTHER LEGAL ISSUES

10          Presently pending before the Court is the parties’ filed motions in limine. These motions address

11 the existing legal and evidentiary issues presented in the case.

12

13

14 DATED: July 9, 2015                                           Respectfully submitted,

15                                                               MELINDA HAAG
                                                                 United States Attorney
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17
                                                                        /s/
18                                                               BRIANNA L. PENNA
                                                                 JEFF SCHENK
19                                                               Assistant United States Attorneys

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